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             THE UNITED STATES DISTRICT COURT FOR THE
                         DISTRICT OF UTAH
IN THE MATTER OF THE )
SEARCH OF: )                           2:24-mj-00409 DBP
Item listed in Attachment A

                          SEALED AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT


       I, Shenen P. Rose, a Special Agent with Homeland Security Investigations, being duly

sworn, depose and state as follows:

                                        INTRODUCTION

       1.      I am a Special Agent with Homeland Security Investigations (HSI), Office of the

Assistant Special Agent-in-Charge in Salt Lake City, Utah. I have been employed as a Special

Agent with HSI beginning in 2020 and I am currently assigned to investigate violations of

federal law relating to child exploitation. Prior to employment HSI, I was employed in Federal

Law Enforcement for twelve years, working as a Deportation Officer and Border Patrol Agent.

While employed as a Deportation Officer, I was assigned as a Task Force Officer (TFO) with

HSI and participated in child exploitation investigations and executed search warrants that

resulted in the seizure of Child Sexual Abuse Material (CSAM). My education includes a

Master of Science in Criminal Justice from Grand Canyon University and a Bachelor of Science

in Criminal Justice from Utah Valley University. I have received training in the area of child

pornography, child exploitation, and child sexual abuse and have had the opportunity to observe

and review numerous examples of child pornography (as defined in 18 U.S.C. § 2256) in all

forms of media including computer media. While employed by HSI, I have investigated Federal

criminal violations related to child exploitation and child pornography, and the use of technology

related to these types of criminal activity. Specifically, I have participated in numerous

investigations relating to the sexual exploitation of children over the Internet.
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       2.      Moreover, I am a Federal law enforcement officer who is engaged in enforcing

the criminal laws, including 18 U.S.C. §§ 2252, and 2252A, and is authorized by law to request a

search warrant.

                                  PURPOSE OF AFFIDAVIT

       3.      This affidavit is submitted in support of an application under Rule 41 of the

Federal Rules of Criminal Procedure for a warrant to search a cellphone (the “SUBJECT

DEVICE”), more specifically described in Attachment A of this Affidavit, including the

content of electronic storage located therein; and the content of any storage device therein, for

contraband and evidence, fruits, and instrumentalities of violations of 18 U.S.C. § 2251

(production of child pornography); 18 U.S.C. §§ 2252(a)(1), (b)(1) and 2252A (a)(1), (b)(1)

(transportation of child pornography); 18 U.S.C. §§ 2252(a)(2), (b)(1) and 2252A(a)(2)(A),

(b)(1) (receipt or distribution of child pornography); 18 U.S.C. §§ 2252(a)(4)(B), (b)(2) and

2252A(a)(5)(B) and (b)(2) (possession of and access with intent to view child pornography) (the

“Subject Offenses”), more specifically described in Attachment B of this Affidavit.

       4.      The statements in this affidavit are based in part on information provided by other

law enforcement officers and on my investigation of this matter. Since this Affidavit is being

submitted for the limited purpose of securing a search warrant, I have not included each and

every fact known to me concerning this investigation. I have set forth only the facts that I believe

are necessary to establish probable cause for the requested warrant.

                                       BRIEF SUMMARY


       5.      As set forth in detail below, James Matthew MARSTON did possess images of

Child Sexual Abuse Material. M A R S T O N ’ s cellphones, the SUBJECT DEVICES, are

currently in HSI custody. Child pornography can easily be accessed, viewed, downloaded,

stored, and produced using the SUBJECT DEVICES. Thus, there is probable cause to search

them for evidence, fruits, and instrumentalities of the Subject Offenses.
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                              STATUTORY AUTHORITY


    6.     As noted above, this investigation concerns alleged violations of the following:

           a.      18 U.S.C. § 2252(a)(1) and (b)(1) prohibit any person from knowingly

    transporting or shipping, or attempting or conspiring to transport or ship, any visual

    depiction using any means or facility of interstate or foreign commerce, or in or affecting

    interstate or foreign commerce, by any means, including by computer or mail, if the

    production of such visual depiction involved the use of a minor engaging in sexually

    explicit conduct and such visual depiction are of such conduct.

           b.      18 U.S.C. § 2252(a)(2) and (b)(1) prohibit any person from knowingly

    receiving or distributing, or attempting or conspiring to receive or distribute, any visual

    depiction using any means or facility of interstate or foreign commerce, or that has been

    mailed or shipped or transported in or affecting interstate or foreign commerce, or which

    contains materials which have been mailed or so shipped or transported, by any means

    including by computer, or knowingly reproducing any visual depiction for distribution

    using any means or facility of interstate or foreign commerce, or in or affecting interstate

    or foreign commerce or through the mail if the production of such visual depiction

    involved the use of a minor engaging in sexually explicit conduct and such visual

    depiction is of such conduct.
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           c.      18 U.S.C. § 2252(a)(4)(B) and (b)(2) prohibit any person from knowingly

    possessing or accessing with the intent to view, or attempting or conspiring to possess or

    access with the intent to view, 1 or more books, magazines, periodicals, films, video

    tapes, or other matter which contain any visual depiction that has been mailed, or has

    been shipped or transported using any means or facility of interstate or foreign commerce

    or in or affecting interstate or foreign commerce, or which was produced using materials

    which have been mailed or so shipped or transported, by any means including by

    computer, if the production of such visual depiction involved the use of a minor engaging

    in sexually explicit conduct and such visual depiction is of such conduct.

           d.      18 U.S.C. § 2252A(a)(1) and (b)(1) prohibit a person from knowingly

    mailing, or transporting or shipping using any means or facility of interstate or foreign

    commerce or in or affecting interstate or foreign commerce by any means, including by

    computer, any child pornography, as defined in 18 U.S.C. § 2256(8), or attempting or

    conspiring to do so.

           e.      18 U.S.C. § 2252A(a)(2)(A) and (b)(1) prohibit a person from knowingly

    receiving or distributing, or attempting or conspiring to receive or distribute, any child

    pornography or any material that contains child pornography, as defined in 18 U.S.C. §

    2256(8), that has been mailed, or using any means or facility of interstate or foreign

    commerce shipped or transported in or affecting interstate or foreign commerce by any

    means, including by computer.

           f.      18 U.S.C. § 2252A(a)(5)(B) and (b)(2) prohibit a person from knowingly

    possessing or knowingly accessing with intent to view, or attempting or conspiring to do

    so, any material that contains an image of child pornography, as defined in 18 U.S.C. §
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    2256(8), that has been mailed, or shipped or transported using any means or facility of

    interstate or foreign commerce, or in or affecting interstate or foreign commerce, by any

    means, including by computer, or that was produced using materials that have been

    mailed or shipped or transported in or affecting interstate or foreign commerce by any

    means, including by computer.

                                     DEFINITIONS

    7.     The following definitions apply to this affidavit and Attachment B:

           a.      “Chat,” as used herein, refers to any kind of text communication over the

    Internet that is transmitted in real-time from sender to receiver. Chat messages are

    generally short in order to enable other participants to respond quickly and in a format

    that resembles an oral conversation. This feature distinguishes chatting from other text-

    based online communications such as Internet forums and email.

           b.      “Child erotica,” as used herein, means materials or items that are sexually

    arousing to persons having a sexual interest in minors but that are not necessarily obscene

    or do not necessarily depict minors engaging in sexually explicit conduct.

           c.      “Child pornography,” as defined in 18 U.S.C. § 2256(8), is any visual

    depiction, including any photograph, film, video, picture, or computer generated image or

    picture, whether made or produced by electronic, mechanical or other

    means, of sexually explicit conduct, where (a) the production of the visual depiction

    involved the use of a minor engaged in sexually explicit conduct, (b) the visual depiction

    is a digital image, computer image, or computer-generated image that is, or is

    indistinguishable from, that of a minor engaged in sexually explicit conduct, or (c) the

    visual depiction has been created, adapted, or modified to appear that an identifiable
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    minor is engaged in sexually explicit conduct.

           d.      “Computer,” as used herein, refers to “an electronic, magnetic, optical,

    electrochemical, or other high-speed data processing device performing logical or storage

    functions, and includes any data storage facility or communications facility directly

    related to or operating in conjunction with such device” and includes smartphones, other

    mobile phones, and other mobile devices. See 18 U.S.C. § 1030(e)(1).

           e.      “Computer hardware,” as used herein, consists of all equipment that can

    receive, capture, collect, analyze, create, display, convert, store, conceal, or transmit

    electronic, magnetic, or similar computer impulses or data. Computer hardware includes

    any data-processing devices (including central processing units, internal and peripheral

    storage devices such as fixed disks, external hard drives, “thumb,” “jump,” or “flash”

    drives, which are small devices that are plugged into a port on the computer, and other

    memory storage devices); peripheral input/output devices (including keyboards, printers,

    video display monitors, and related communications devices such as cables and

    connections); as well as any devices, mechanisms, or parts that can be used to restrict

    access to computer hardware (including physical keys and locks).

           f.      “Computer passwords and data security devices,” as used herein, consist

    of information or items designed to restrict access to or hide computer software,

    documentation, or data. Data security devices may consist of hardware, software, or

    other programming code. A password (a string of alpha-numeric characters) usually

    operates what might be termed a digital key to “unlock” particular data security devices.

    Data security hardware may include encryption devices, chips, and circuit boards. Data

    security software may include programming code that creates “test” keys or “hot” keys,
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    which perform certain pre-set security functions when touched. Data security software or

    code may also encrypt, compress, hide, or “booby-trap” protected data to make it

    inaccessible or unusable, as well as reverse the process to restore it.

            g.      “Geolocated,” as used herein, refers to the identification of the

    geographical location of (a person or device) by means of digital information processed

    via the Internet.

            h.      “Hashtag,” as used herein, refers to a word or phrase preceded by a hash

    or pound sign (#), which is used to identify messages or groups on a specific topic.

            i.      A “hash value” is a unique multi-character number that is associated with

    a computer file. Some computer scientists compare a hash value to an electronic

    fingerprint in that each file has a unique hash value. Any identical copy of the file will

    have exactly the same hash value as the original, but any alteration of the file, including

    even a change of one or two pixels, would result in a different hash value. Hash

    values represent large amounts of data as much smaller numeric values, so they are used

    with digital signatures.

            j.      “Internet Service Providers” (“ISPs”), as used herein, are commercial

    organizations that are in business to provide individuals and businesses access to the

    Internet. ISPs provide a range of functions for their customers including access to the

    Internet, web hosting, email, remote storage, and co-location of computers and other

    communications equipment.

            k.      An “Internet Protocol address” or “IP address,” as used herein, refers to a

    unique numeric or alphanumeric string used by a computer or other digital device to

    access the Internet. Every computer or device accessing the Internet must be assigned an
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    IP address so that Internet traffic sent from and directed to that computer or device may

    be directed properly from its source to its destination. Most Internet Service Providers

    (“ISPs”) control a range of IP addresses. IP addresses can be “dynamic,” meaning that

    the ISP assigns a different unique number to a computer or device every time it accesses

    the Internet. IP addresses might also be “static,” if an ISP assigns a user’s computer a

    particular IP address that is used each time the computer accesses the Internet. ISPs

    typically maintain logs of the subscribers to whom IP addresses are assigned on particular

    dates and times.

           l.      The “Internet” is a global network of computers and other electronic

    devices that communicate with each other. Due to the structure of the Internet,

    connections between devices on the Internet often cross state and international borders,

    even when the devices communicating with each other are in the same state.

           m.      “Minor,” as defined in 18 U.S.C. § 2256(1), refers to any person under

    the age of eighteen years.

           n.      “Mobile application” or “chat application,” as used herein, are small,

    specialized programs downloaded onto mobile devices, computers and other digital

    devices that enable users to perform a variety of functions, including engaging in online

    chat and sending or receiving images and videos.

           o.      “Records,” “documents,” and “materials,” as used herein, include all

    information recorded in any form, visual or aural, and by any means, whether in

    handmade, photographic, mechanical, electrical, electronic, or magnetic form.

           p.      “Remote computing service,” as defined in 18 U.S.C. § 2711(2), is the

    provision to the public of computer storage or processing services by means of an
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    electronic communications system.

            q.        “Sexually explicit conduct,” as defined in 18 U.S.C. § 2256(2), means

    actual or simulated (a) sexual intercourse, including genital-genital, oral-genital, anal-

    genital, or oral-anal, whether between persons of the same or opposite sex; (b) bestiality;

    (c) masturbation; (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the

    anus, genitals, or pubic area of any person.

            r.        A “storage medium” is any physical object upon which computer data

    can be recorded. Examples include hard disks, RAM, floppy disks, “thumb,” “jump,” or

    “flash” drives, CD-ROMs, and other magnetic or optical media.

            s.        “Visual depiction,” as defined in 18 U.S.C. § 2256(5), includes

    undeveloped film and videotape, data stored on computer disc or other electronic means

    which is capable of conversion into a visual image, and data which is capable of

    conversion into a visual image that has been transmitted by any means, whether or not

    stored in a permanent format.

                                        PROBABLE CAUSE
    8.    On September 26, 2023, Detective Holly Coombs with Centerville Police

    Department received four referrals from the National Center for Missing and Exploited

    Children (NCMEC) regarding a Google user having up0loaded material to a user account

    which depicts the sexual exploitation of a minor. The related CyberTips (CT) are

    173014882, 173115559, 173207509, 173305834.

    9.   NCMEC referral reads that on or about September 1, 2023, Google made a report that

    they had become aware of a user having uploaded contraband to the user’s account.

    Google reported that they became aware of the issue either because they noticed it while

    reviewing files or because one or more of the uploaded files was a has match. The content,

    which contained 167 files, was stored in Google Photos infrastructure and Google Drive

    infrastructure.
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     10.   Google LLC identified the suspect by Email address:

     sadclownbaddub187@gmail.com and two phone numbers, 801-661-3735 and 801-835-

     4079. Google LLC also captured several login and upload IP addresses. Google LLC also

     provided a “subscriber -data” pdf which showed all the IP addresses that were captured by

     Google LLC between August 5, 2023, at 01:20 hours (UTC) and September 1, 2023, at

     5:51 hours (UTC), in regard to the Email address: sadclownbaddub187@gmail.com.

     Google confirmed the phone number 801-835-4079 on August 30, 2023, at 10:39:29

     (UTC). As previously stated, based on the training and experience of Det. Coombs, when a

     provider such as Google “confirms” a phone number, they typically send a text message or

     make a phone call to the phone number to confirm that the phone number belongs to the

     account owner. Therefore, it is probable that the owner of the target email address used to

     access the CSAM belongs to the owner of phone number 801-835-4079.

     11. Google provided the file titled “6473e2c2034645a487c907f1270012e9-Pretzels_6_-

     _Time_for_shower_is_time_to_play.mpg” which they stated they had viewed, determining

     it to be CSAM. Det. Coombs viewed the file, which is a 15 minute 1 second video of a

     prepubescent female in a bathroom initially wrapped in a bath towel. She removes the bath

     towel and exposes her genitals to the camera; she then proceeds to masturbate. She then

     gets into the shower. When she gets out of the shower, she wraps herself in the bath towel

     and stands over the camera exposing her genitals again.

     12. There are multiple IP addresses used to login to this account, which Det. Coombs

     verified through Maxmind.com that geolocate to Utah. In addition to the IP addresses used

     to login to the account, the phone numbers associated with the Google account have a Utah

     area code.

     13. When using an investigative tool to locate the owner of the phone number 801-835-

     4079, Det. Coombs found that it belonged to James MARSTON. Det. Coombs located a

     Utah driver’s license #17803600, for MARSTON. Along with MARSTON’s driver's
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     license, Det. Coombs found MARSTON was on parole and is a registered sex offender.

     Det. Coombs checked the Utah sex offender database, Offender Watch, and found the

     phone number provided to Adult Probation and Parole to be the same as reported in the CT,

     801-835-4079.

     14. Det. Coombs further found MARSTON was residing at 646 N. Gramercy, in Ogden,

     Utah. Additional checks conducted by Det Coombs through Offender Watch, showed

     MARSTON to have a new address of 1539 S. Burton Ct. This information was reported by

     MARSTON to his parole officer on October 16, 2023.

     15. MARSTON’s parole office, Bryan Lythgoe, confirmed to Det. Coombs that he had

     made a successful home visit with MARSTON at the Burton Ct. address in November of

     2023.

     16. On December 7, 2023, Det. Coombs along with the Utah Attorney General’s Office

     Internet Crimes Against Children (ICAC) taskforce served a residential search warrant at

     the Burton Ct. residence of MARSTON.

     17. Prior to serving the search warrant, Det Coombs also reached out to Agent Lythgoe,

     who was MARSTON’s parole agent, who requested that Det. Coombs and the ICAC

     taskforce conduct a concurrent parole search of MARSTON’s residence and electronic

     devices in accordance with MARSTON's parole agreement and terms of parole.

     18. During the search of the residence, taskforce members located and seized two

     cellphones, a black Samsung cellphone (DEVICE 1) and a Black iPhone (DEVICE 2),

     herein and after referred to as SUBJECT DEVICES, belonging to MARSTON.

     19. On December 11, 2023, Det. Coombs took the SUBJECT DEVICES to the Utah

     Attorney General’s Office to be forensically examined. On December 19, 2023, Det.

     Coombs received the extraction reports from the Utah Attorney General’s office and

     returned the SUBJECT DEVICES to Centerville Police Department for safekeeping.

     20. Det. Coombs found in an extraction report, DEVICE 1 contained 182 files of
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     confirmed CSAM. These files were submitted to the National Center for Missing and

     Exploited Children (NCMEC) for hash value comparison. NCMEC report #140603-

     2024-HC identified the files contained 48 previously identified CSAM victims, 8

     recognized hash values, and 126 unrecognized hash values.

     21. The extraction report of DEVICE 2, showed only a partial extraction was completed

     and no CSAM was found in that extraction. Based on my training and experience, and

     conversations with other law enforcement, a partial extraction is often the result of not

     having a passcode for the device and/or the tools used to conduct the extraction are not

     update to the software installed on the affected device. Frequent updates to forensic

     tools have led to devices being able to be fully extracted after an initial extraction failure

     or incomplete extraction.

   22. In February of 2024, I was notified about this investigation and asked to provide

   assistance in further investigating for Child Sexual Abuse Material in SUBECT DEVICES.

   23. As part of my investigation, I believe it would be beneficial for a Forensic Analyst at

   Homeland Security Investigations to re-examine the SUBJECT DEVICES data in this case.

   I know from training and experience that investigators use a variety of tools and techniques

   to investigate the contents of computers and cell phones. I know that the investigative tools

   are updated from time to time which can result in additional data that resides on a device

   being made available to an examiner who conducts a new extraction from the device. I also

   know that different tools created by different companies or agencies may have increased or

   decreased ability to read data that resides on a device. I also know that the investigative

   strategies and techniques employed by forensic examiners may allow for the identification

   of different evidence as the data is searched.

   24. Based on my training and experience, the data that exists on cellular devices, computers,

   or the extraction of a digital device will remain until deleted. Because no one has had access

   to the SUBJECT DEVICES since they were seized from MARSTON, I believe that the
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   digital data that existed on the SUBJECT DEVICES at the time of MARSTON’s arrest will

   still reside on the SUBJECT DEVICES.

   25. Although a warrant was already obtained to search the SUBJECT DEVICES, the

   information obtained from service of the prior warrant has recovered evidence of CSAM and

   with the update of technology, a new forensic examination of the subject DEVICES is likely

   to reveal additional evidence of CSAM.

   26. I also know that people who use child pornography often have multiple DEVICES, such

   as multiple cellphones, in order to conceal their consumption of child pornography from law

   enforcement and/or family members. Often people involved in criminal conduct will have a

   fully functional cellphone they use publicly and provide it is their primary phone without

   disclosing the use of an additional phone that can be used to store illegal files or access

   internet via WiFi to view illegal content such as child exploitation material.

  27. Further, I know that suspects in these criminal cases sometimes claim that the DEVICE

      was not in their possession during the time child pornography was accessed. Collateral

      clues that can be discovered through observing what other activity was taking place on

      the device at or around the time the child pornography was accessed is critical in showing

      the identity of the person who accessed the child pornography. Correspondence such as

      emails or text messages at or around the time that the child pornography was being

      accessed is therefore relevant to show that the suspect was the person who controlled the

      child pornography.

   28. Because child pornography can be difficult to find or obtain, I know from training and

      experience that people who produce child pornography are often involved in distributing

      that child pornography to other individuals. Sometimes this distribution is done to

      facilitate the collection of additional child pornography in a “trade” of child pornography

      material. Other times produced child pornography is distributed in exchange for money

      or other valuable consideration. Still other times, child pornography is distributed in
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          exchange for attention or affection from others.

      29.     Based on the facts and opinions detailed in this affidavit, specifically information

          reported by Det. Coombs, I believe there are visual depictions of CSAM contained in the

          SUBJECT DEVICES.


BACKGROUND ON CHILD PORNOGRAPHY, COMPUTERS, AND THE INTERNET

    30.      I have had both training and experience in the investigation of computer-related

    crimes. Based on my training, experience, and knowledge, I know the following:

                a. Computers and digital technology are the primary way in which

      individuals interested in child pornography interact with each other. Computers basically

      serve four functions in connection with child pornography: production, communication,

      distribution, and storage.

                b. Digital cameras and smartphones with cameras save photographs or videos

      as a digital file that can be directly transferred to a computer by connecting the camera or

      smartphone to the computer, using a cable or via wireless connections such as “WiFi” or

      “Bluetooth.” Photos and videos taken on a digital camera or smartphone may be stored

      on a removable memory card in the camera or smartphone. These memory cards are

      often large enough to store thousands of high-resolution photographs or videos.

                c. A device known as a modem allows any computer to connect to another

      computer through the use of telephone, cable, or wireless connection. Mobile devices

      such as smartphones and tablet computers may also connect to other computers via

      wireless connections. Electronic contact can be made to literally millions of computers

      around the world. Child pornography can therefore be easily, inexpensively and

      anonymously (through electronic communications) produced, distributed, and received

      by anyone with access to a computer or smartphone.

                d. The computer’s ability to store images in digital form makes the computer
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     itself an ideal repository for child pornography. Electronic storage media of various types

     - to include computer hard drives, external hard drives, CDs, DVDs, and “thumb,”

     “jump,” or “flash” drives, which are very small devices that are plugged into a port on the

     computer - can store thousands of images or videos at very high resolution. It is

     extremely easy for an individual to take a photo or a video with a digital camera or

     camera-bearing smartphone, upload that photo or video to a computer, and then copy it

     (or any other files on the computer) to any one of those media storage devices. Some

     media storage devices can easily be concealed and carried on an individual’s person.

     Smartphones and/or mobile phones are also often carried on an individual’s person.

              e. The Internet affords individuals several different venues for obtaining,

     viewing, and trading child pornography in a relatively secure and anonymous fashion.

              f. Individuals also use online resources to retrieve and store child

     pornography. Some online services allow a user to set up an account with a remote

     computing service that may provide email services and/or electronic storage of computer

     files in any variety of formats. A user can set up an online storage account (sometimes

     referred to as “cloud” storage) from any computer or smartphone with access to the

     Internet. Even in cases where online storage is used, however, evidence of child

     pornography can be found on the user’s computer, smartphone, or external media in most

     cases.

              g.   A growing phenomenon related to smartphones and other mobile

     computing devices is the use of mobile applications, also referred to as “apps.” Apps

     consist of software downloaded onto mobile devices that enable users to perform a

     variety of tasks – such as engaging in online chat, sharing digital files, reading a book, or

     playing a game – on a mobile device. Individuals commonly use such apps to receive,

     store, distribute, and advertise child pornography, to interact directly with other

     likeminded offenders or with potential minor victims, and to access cloud-storage
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     services where child pornography may be stored.

             h. As is the case with most digital technology, communications by way of

     computer can be saved or stored on the computer used for these purposes. Storing this

     information can be intentional (i.e., by saving an email as a file on the computer or saving

     the location of one’s favorite websites in, for example, “bookmarked” files) or

     unintentional. Digital information, such as the traces of the path of an electronic

     communication, may also be automatically stored in many places (e.g., temporary files or

     ISP client software, among others). In addition to electronic communications, a

     computer user’s Internet activities generally leave traces or “footprints” in the web cache

     and history files of the browser used. Such information is often maintained indefinitely

     until overwritten by other data.

        SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

   31. As described above and in Attachment B, this application seeks permission to search

      for records that might be found on the SUBJECT DEVICES, in whatever form they

      are found. One form in which the records are likely to be found is data stored on a

      computer’s hard drive or other storage media. Thus, the warrant applied for would

      authorize the seizure of electronic storage media or, potentially, the copying of

      electronically stored information, all under Rule 41(e)(2)(B).

   32. I submit that there is probable cause to believe those records referenced above will

      be stored on the SUBJECT DEVICES, for at least the following reasons:

             a. Deleted files, or remnants of deleted files, may reside in free space or
     slack space—that is, in space on the storage medium that is not currently being used by

     an active file—for long periods of time before they are overwritten. In addition, a

     computer’s operating system may also keep a record of deleted data in a “swap” or

     “recovery” file.

             b. Based on my knowledge, training, and experience, I know that computer
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     files or remnants of such files can be recovered months or even years after they have been

     downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

     downloaded to a storage medium can be stored for years at little or no cost. Even when

     files have been deleted, they can be recovered months or years later using forensic tools.

     This is so because when a person “deletes” a file on a computer, the data contained in the

     file does not actually disappear; rather, that data remains on the storage medium until it is

     overwritten by new data.

             c. Wholly apart from user-generated files, computer storage media—in

     particular, computers’ internal hard drives—contain electronic evidence of how a

     computer has been used, what it has been used for, and who has used it. To give a few

     examples, this forensic evidence can take the form of operating system configurations,

     artifacts from operating system or application operation, file system data structures, and

     virtual memory “swap” or paging files. Computer users typically do not erase or delete

     this evidence, because special software is typically required for that task. However, it is

     technically possible to delete this information.

            d. Similarly, files that have been viewed via the Internet are sometimes

     automatically downloaded into a temporary Internet directory or “cache.”

   33. As further described in Attachment B, this application seeks permission to

      locate not only computer files that might serve as direct evidence of the crimes

      described on the warrant, but also for forensic electronic evidence that establishes how

      computers were used, the purpose of their use, who used them, and when. There is

      probable cause to believe that there is forensic electronic evidence stored on the

      SUBJECT DEVICES because:


             a. Data on the storage medium can provide evidence of a file that was once

     on the storage medium but has since been deleted or edited, or of a deleted portion of a
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     file (such as a paragraph that has been deleted from a word processing file). Virtual

     memory paging systems can leave traces of information on the storage medium that show

     what tasks and processes were recently active. Web browsers, email programs, and chat

     programs store configuration information on the storage medium that can reveal

     information such as online nicknames and passwords. Operating systems can record

     additional information, such as the attachment of peripherals, the attachment of USB

     flash storage devices or other external storage media, and the times the computer was in

     use. Computer file systems can record information about the dates files were created and

     the sequence in which they were created, although this information can later be falsified.

            b. Information stored within a computer and other electronic storage media

     may provide crucial evidence of the “who, what, why, when, where, and how” of the

     criminal conduct under investigation, thus enabling the United States to establish and

     prove each element or alternatively, to exclude the innocent from further suspicion. In

     my training and experience, information stored within a computer or storage media (e.g.,

     registry information, communications, images and movies, transactional information,

     records of session times and durations, Internet history, and anti-virus, spyware, and

     malware detection programs) can indicate who has used or controlled the computer or

     storage media. This “user attribution” evidence is analogous to the search for “indicia of

     occupancy” while executing a search warrant at a residence. The existence or absence of

     anti-virus, spyware, and malware detection programs may indicate whether the computer

     was remotely accessed, thus inculpating or exculpating the computer owner. Further,

     computer and storage media activity can indicate how and when the computer or storage

     media was accessed or used. For example, computers typically contain information that

     logs: computer user account session times and durations, computer activity associated

     with user accounts, electronic storage media that connected with the computer, and the IP

     addresses through which the computer accessed networks and the Internet. Such
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     information allows investigators to understand the chronological context of computer or

     electronic storage media access, use, and events relating to the crime under investigation.

     Additionally, some information stored within a computer or electronic storage media may

     provide crucial evidence relating to the physical location of other evidence and the

     suspect. For example, images stored on a computer may both show a particular location

     and have geolocation information incorporated into its file data. Such file data typically

     also contains information indicating when the file or image was created. The existence of

     such image files, along with external device connection logs, may also indicate the

     presence of additional electronic storage media (e.g., a digital camera or cellular phone

     with an incorporated camera). The geographic and timeline information described herein

     may either inculpate or exculpate the computer user. Last, information stored within a

     computer may provide relevant insight into the computer user’s state of mind as it relates

     to the offense under investigation. For example, information within the computer may

     indicate the owner’s motive and intent to commit a crime (e.g., Internet searches

     indicating criminal planning), or consciousness of guilt (e.g., running a “wiping” program

     to destroy evidence on the computer or password protecting/encrypting such evidence in

     an effort to conceal it from law enforcement).

            c. A person with appropriate familiarity with how a computer works can,

     after examining this forensic evidence in its proper context, draw conclusions about how

     computers were used, the purpose of their use, who used them, and when.

             d. The process of identifying the exact files, blocks, registry entries, logs, or

     other forms of forensic evidence on a storage medium that are necessary to draw an

     accurate conclusion is a dynamic process. While it is possible to specify in advance the

     records to be sought, computer evidence is not always data that can be merely reviewed

     by a review team and passed along to investigators. Whether data stored on a computer

     is evidence may depend on other information stored on the computer and the
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        application of knowledge about how a computer behaves. Therefore, contextual

        information necessary to understand other evidence also falls within the scope of the

        warrant.

                e. Further, in finding evidence of how a computer was used, the purpose of its

        use, who used it, and when, sometimes it is necessary to establish that a particular thing

        is not present on a storage medium. For example, the presence or absence of counter-

        forensic programs or anti-virus programs (and associated data) may be relevant to

        establishing the user’s intent.

                f. I know that when an individual uses a computer to obtain or access child

        pornography, the individual’s computer will generally serve both as an instrumentality

        for committing the crime, and also as a storage medium for evidence of the crime. The

        computer is an instrumentality of the crime because it is used as a means of

        committing the criminal offense. The computer is also likely to be a storage medium

        for evidence of crime. From my training and experience, I believe that a computer

        used to commit a crime of this type may contain: data that is evidence of how the

        computer was used; data that was sent or received; notes as to how the criminal

        conduct was achieved; records of Internet discussions about the crime; and other

        records that indicate the nature of the offense.

     34. Based upon my training and experience and information relayed to me by agents and

         others involved in the forensic examination of computers, I know that computer data can

         be stored on a variety of systems and storage devices, including external and internal

hard drives, flash drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming

systems, SIM cards, cellular phones capable of storage, floppy disks, compact disks,

magnetic tapes, memory cards, memory chips, and online or offsite storage servers

maintained by corporations, including but not limited to “cloud” storage. I also know

that during the search of the premises it is not always possible to search computer
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equipment and storage devices for data for a number of reasons, including the following:

               a. Searching computer systems is a highly technical process that requires

       specific expertise and specialized equipment. There are so many types of computer

       hardware and software in use today that it is impossible to bring to the search site all of

       the technical manuals and specialized equipment necessary to conduct a thorough search.

       In addition, it may also be necessary to consult with computer personnel who have

       specific expertise in the type of computer, software, or operating system that is being

       searched;

              b.     Searching computer systems requires the use of precise, scientific
       procedures which are designed to maintain the integrity of the evidence and to recover

       “hidden,” erased, compressed, encrypted, or password-protected data. Computer

       hardware and storage devices may contain “booby traps” that destroy or alter data if

       certain procedures are not scrupulously followed. Since computer data is particularly

       vulnerable to inadvertent or intentional modification or destruction, a controlled

       environment, such as a law enforcement laboratory, is essential to conducting a complete

       and accurate analysis of the equipment and storage devices from which the data will be

       extracted;

              c.       The volume of data stored on many computer systems and storage devices

       will typically be so large that it will be highly impractical to search for data during the

       execution of the physical search of the premises; and

               d.      Computer users can attempt to conceal data within computer equipment

       and storage devices through a number of methods, including the use of innocuous or

       misleading filenames and extensions. For example, files with the extension “.jpg” often

       are image files; however, a user can easily change the extension to “.txt” to conceal the

       image and make it appear that the file contains text. Computer users can also attempt to

       conceal data by using encryption, which means that a password or device, such as a
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     “dongle” or “keycard,” is necessary to decrypt the data into readable form. In addition,

     computer users can conceal data within another seemingly unrelated and innocuous file in

     a process called “steganography.” For example, by using steganography a computer user

     can conceal text in an image file which cannot be viewed when the image file is opened.

     Therefore, a substantial amount of time is necessary to extract and sort through data that

     is concealed or encrypted to determine whether it is contraband, evidence, fruits, or

     instrumentalities of a crime.


   35. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant I am

      applying for would permit seizing, imaging, or otherwise copying storage

      media that reasonably appear to contain some or all of the evidence described

      in the warrant, andwould authorize a later review of the media or information

      consistent with the warrant. The later review may require techniques, including but not

      limited to computer-assisted scans of the entire medium, that might expose many parts

      of a hard drive to human inspection in order to determine whether it is evidence

      described by the warrant. These searches are conducted with the aid of software and

      techniques which are continually evolving. As such, as investigators uncover new

      techniques to search a device and as software is updated, future searches are likely to

      uncover additional evidence. As such, it is requested this warrant will allow for

      repeated forensic review up to and including the time of trial.

                                         CONCLUSION

   36. Based on the foregoing, there is probable cause to believe that the federal criminal

      statutes cited herein have been violated, and that the contraband, property, evidence,

      fruits, and instrumentalities of the SUBJECT offenses, more fully described in

      Attachment B, are located on the SUBJECT DEVICES described in Attachment A. I

      respectfully request that this Court issue a search warrant for the DEVICES described in

      Attachment A, authorizing the seizure and Search of the items described in Attachment
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        B. It is intended this warrant will allow for off-site forensic review up to and including

        the time of trial.

    37. I am aware that the recovery of data by a computer forensic analyst takes significant

        time; much the way recovery of narcotics must later be forensically evaluated in a lab,

        digital evidence will also undergo a similar process. For this reason, the “return”

        inventory will contain a list of only the tangible items recovered from the premises.

        Unless otherwise ordered by the Court, the return will not include evidence later

        examined by a forensic analyst.

                                                             SHENEN Digitally signed by
                                                                    SHENEN P ROSE
                                                                    Date: 2024.04.17
                                                             P ROSE 05:24:42 -06'00'
                                                             /s/ Shenen P. Rose
                                                             Shenen P. Rose
                                                             Special Agent
                                                             Homeland Security Investigations



Sworn and subscribed before me this     17 th day of April, 2024.



United States Magistrate Judge
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                                     ATTACHMENT A

                     DESCRIPTION OF DEVICE TO BE SEARCHED

The devices to be searched, which are currently in possession of Homeland Security
Investigations at 2975 Decker Lake Drive, West Valley City, UT 84119, in the District of Utah,
are:

DEVICE 1: Black Samsung cellphone seized from James Matthew MARSTON pursuant to a
State of Utah Search Warrant.

DEVICE 2: Black iPhone seized from James Matthew MARSTON pursuant to a State of Utah
Search Warrant.
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                                       ATTACHMENT B

                                    ITEMS TO BE SEIZED

       The items to be seized, which constitute evidence of the commission of a criminal

offense, contraband, the fruits of crime, or property designed or intended for use or which is or

has been used as the means of committing a criminal offense, namely 18 U.S.C. § 2251

(production of child pornography); 18 U.S.C. §§ 2252(a)(1), (b)(1) and 2252A (a)(1), (b)(1)

(transportation of child pornography); 18 U.S.C. §§ 2252(a)(2), (b)(1) and 2252A(a)(2)(A),

(b)(1) (receipt or distribution of child pornography); 18 U.S.C. §§ 2252(a)(4)(B), (b)(2) and

2252A(a)(5)(B) and (b)(2) (possession of and access with intent to view child pornography) (the

“Subject Offenses”), are:



        1.    SUBJECT DEVICES and any storage device contained therein if used as
a means to commit the SUBJECT OFFENSES.

       2.      For each SUBJECT DEVICE, including any storage device contained therein:

               a. evidence tending to identify who used, owned, or controlled the DEVICE at
                  the time the things described in this warrant were created, edited, or deleted,
                  such logs, registry entries, configuration files, saved user names and
                  passwords, documents, browsing history, user profiles, email, email contacts,
                  “chat,” instant messaging logs, photographs, and correspondence;

               b. evidence of software that would allow others to control the DEVICE, such as
                  viruses, Trojan horses, and other forms of malicious software, as well as
                  evidence of the presence or absence of security software designed to detect
                  malicious software;

               c. evidence of the lack of such malicious software;

               d. evidence indicating how and when the DEVICE was accessed or used to
                  determine the chronological context of computer access, use, and events
                  relating to the crime(s) under investigation and to the computer user;
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            e. evidence indicating the DEVICE user’s knowledge and/or intent as it
               relates to the crime(s) under investigation;

            f. evidence of the attachment to the DEVICE of other storage devices or
               similar containers for electronic evidence;

            g. evidence of programs (and associated data) that are designed to
               eliminate data from the DEVICE;

            h. evidence of the times the DEVICE was used;

            i. passwords, encryption keys, and other access devices that may be
               necessary to access the DEVICE;

            j. documentation and manuals that may be necessary to access the
               DEVICE or to conduct a forensic examination of the DEVICE;

            k. records of or information about Internet Protocol addresses used by the
               DEVICE;

            l. records of or information about the DEVICE’s Internet activity, including
               firewall logs, caches, browser history and cookies, “bookmarked” or
               “favorite” web pages, search terms that the user entered into any Internet
               search engine, and records of user-typed web addresses; and

            m. contextual information necessary to understand the evidence described in
               this attachment.

     3. Child pornography, as defined in 18 U.S.C. § 2256(8), visual depictions of minors
        engaging in sexually explicit conduct, as defined in 18 U.S.C. § 2256(2), and child
        erotica (material that may not legally be child pornography but nevertheless appeals
        to the sexual interest of individuals who are sexually interested in minors; child
        erotica could be visual depictions, drawings, artwork, stories, etc).

     4. Any material, in any form, tending to identify any individual involved in the
        Subject Offenses or otherwise involved in the sexual exploitation of minors;

     5. Any material, in any form, tending to identify any minor who is, or appears to be,
        the victim the Subject Offenses or the sexual exploitation of minors;

     6. Any material, in any form, tending to identify the means or methods used to
        commit the Subject Offenses;

     7. All saved "chat" or messaging transcripts related to the Subject Offenses including
        but limited to any material reflecting a sexual interest in children or the sexual
        exploitation of minors;

     8. Any material, in any form, pertaining to child pornography, child erotica, an
        interest in such materials, or pertaining to a sexual interest in children, or sexual
        activity involving children;
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     9. Any material, in any form, tending to identify the user of the SUBJECT
        DEVICE;

     10. Content of web history and searches related to the SUBJECT OFFENSES or
         otherwise reflect a sexual interest in children or images of children;

     11. Location information associated with the SUBJECT DEVICE listed in Attachment
         A that tends to identify the user of the DEVICE, events relating to the Subject
         Offenses, assist in the determinate of the chronological and geographic context of
         the Subject Offenses, tends to show where events occurred, and who sent, received,
         possessed or produced child pornography or other evidence of the Subject Offenses;

     12. EXIF or other metadata about images, documents or correspondence related to the
         Subject Offenses, reflecting a sexual interest in children, or that help identify the
         device or person who produced, sent, traded, received, or possessed child
         pornography or that identifies the user of the accounts used to engage in child
         exploitative acts.

     13. Any material, in any form, concerning membership in online groups, clubs, or
         services that provide or make accessible child pornography to members, advertise,
         promote, discuss or otherwise involve child pornography, or otherwise relate to the
         Subject Offenses or the sexual exploitation of children;

     14. Any material, in any form, pertaining to the means and source of payment for
         services related to the Subject Offenses, such as payment for messaging
         applications, internet services, website access, child pornography, (including any
         credit card or bank account number or digital money transfer account information
         or payment for gaming services);
     15. Any material, in any form, tending to evidence CRAIG’s state of mind as it
         relates to the Subject Offenses;

     16. Any material, in any form, tending to identify digital devices owned, used,
         controlled or accessed by CRAIG, including but not limited to the SUBJECT
         DEVICE;

     17. Definitions for terms as used herein:

            a. The terms “materials,” “records” “information” and “evidence” includes all
               forms of creation or storage, including any form of computer or electronic
               storage (such as hard disks or other media that can store data;

            b. The term “computer” or “device” includes all types of electronic, magnetic,
                optical, electrochemical, or other high-speed data processing devices
                performing logical, arithmetic, or storage functions, including desktop
                computers, notebook computers, mobile phones, tablets, server computers,
                and network hardware.
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          SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

       1. As described above and in Attachment B, this warrant allows law enforcement to

search for records that might be found on the SUBJECT DEVICES, in whatever form they are

found. One form in which the records are likely to be found is data stored on a computer’s hard

drive or other storage media. Thus, the warrant applied for would authorize the seizure of

electronic storage media or, potentially, the copying of electronically stored information, all

under Rule 41(e)(2)(B).

       2. There is probable cause to believe those records referenced above will be stored

on the SUBJECT DEVICES, for at least the following reasons:

               a. Deleted files, or remnants of deleted files, may reside in free space or slack

       space—that is, in space on the storage medium that is not currently being used by

       an active file—for long periods of time before they are overwritten. In addition, a

       computer’s operating system may also keep a record of deleted data in a “swap”

       or “recovery” file.

               b. Based on my knowledge, training, and experience, I know that computer

       files or remnants of such files can be recovered months or even years after they have been

       downloaded onto a storage medium, deleted, or viewed via the Internet. Electronic files

       downloaded to a storage medium can be stored for years at little or no cost. Even when

       files have been deleted, they can be recovered months or years later using forensic tools.

       This is so because when a person “deletes” a file on a computer, the data contained in the

       file does not actually disappear; rather, that data remains on the storage medium until it is

       overwritten by new data.

               c.      Wholly apart from user-generated files, computer storage media—in

       particular, computers’ internal hard drives—contain electronic evidence of how a

       computer has been used, what it has been used for, and who has used it. To give a few

       examples, this forensic evidence can take the form of operating system configurations,
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       artifacts from operating system or application operation, file system data structures, and

       virtual memory “swap” or paging files. Computer users typically do not erase or delete

       this evidence, because special software is typically required for that task. However, it is

       technically possible to delete this information.

               d. Similarly, files that have been viewed via the Internet are sometimes

       automatically downloaded into a temporary Internet directory or “cache.”

       3. As further described in Attachment B, this application seeks permission to locate

not only computer files that might serve as direct evidence of the crimes described on the

warrant, but also for forensic electronic evidence that establishes how computers were used, the

purpose of their use, who used them, and when. There is probable cause to believe that this

forensic electronic evidence will be on the SUBJECT DEVICES because:

               a. Data on the storage medium can provide evidence of a file that was once on the

       storage medium but has since been deleted or edited, or of a deleted portion of a

       file (such as a paragraph that has been deleted from a word processing file).

       Virtual memory paging systems can leave traces of information on the storage

       medium that show what tasks and processes were recently active. Web browsers,

       email programs, and chat programs store configuration information on the storage

       medium that can reveal information such as online nicknames and passwords.

       Operating systems can record additional information, such as the attachment of

       peripherals, the attachment of USB flash storage devices or other external storage

       media, and the times the computer was in use. Computer file systems can record

       information about the dates files were created and the sequence in which they

       were created, although this information can later be falsified.

               b. Information stored within a computer and other electronic storage media

       may provide crucial evidence of the “who, what, why, when, where, and how” of the

       criminal conduct under investigation, thus enabling the United States to establish and
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     prove each element or alternatively, to exclude the innocent from further suspicion. In

     my training and experience, information stored within a computer or storage media (e.g.,

     registry information, communications, images and movies, transactional information,

     records of session times and durations, Internet history, and anti-virus, spyware, and

     malware detection programs) can indicate who has used or controlled the computer or

     storage media. This “user attribution” evidence is analogous to the search for “indicia of

     occupancy” while executing a search warrant at a residence. The existence or absence of

     anti-virus, spyware, and malware detection programs may indicate whether the computer

     was remotely accessed, thus inculpating or exculpating the computer owner. Further,

     computer and storage media activity can indicate how and when the computer or storage

     media was accessed or used. For example, computers typically contain information that

     logs: computer user account session times and durations, computer activity associated

     with user accounts, electronic storage media that connected with the computer, and the IP

     addresses through which the computer accessed networks and the Internet. Such

     information allows investigators to understand the chronological context of computer or

     electronic storage media access, use, and events relating to the crime under investigation.

     Additionally, some information stored within a computer or electronic storage media may

     provide crucial evidence relating to the physical location of other evidence and the

     suspect. For example, images stored on a computer may both show a particular location

     and have geolocation information incorporated into its file data. Such file data typically

     also contains information indicating when the file or image was created. The existence of

     such image files, along with external device connection logs, may also indicate the

     presence of additional electronic storage media (e.g., a digital camera or cellular phone

     with an incorporated camera). The geographic and timeline information described herein

     may either inculpate or exculpate the computer user. Last, information stored within a

     computer may provide relevant insight into the computer user’s state of mind as it relates
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     to the offense under investigation. For example, information within the computer may

     indicate the owner’s motive and intent to commit a crime (e.g., Internet searches

     indicating criminal planning), or consciousness of guilt (e.g., running a “wiping” program

     to destroy evidence on the computer or password protecting/encrypting such evidence in

     an effort to conceal it from law enforcement).

             c. A person with appropriate familiarity with how a computer works can,

     after examining this forensic evidence in its proper context, draw conclusions about how

     computers were used, the purpose of their use, who used them, and when.

             d. The process of identifying the exact files, blocks, registry entries, logs, or

     other forms of forensic evidence on a storage medium that are necessary to draw an

     accurate conclusion is a dynamic process. While it is possible to specify in advance the

     records to be sought, computer evidence is not always data that can be merely reviewed

     by a review team and passed along to investigators. Whether data stored on a computer

     is evidence may depend on other information stored on the computer and the application

     of knowledge about how a computer behaves. Therefore, contextual information

     necessary to understand other evidence also falls within the scope of the warrant.

             e. Further, in finding evidence of how a computer was used, the purpose of

     its use, who used it, and when, sometimes it is necessary to establish that a particular

     thing is not present on a storage medium. For example, the presence or absence of

     counter-forensic programs or anti-virus programs (and associated data) may be relevant

     to establishing the user’s intent.

             f. When an individual uses a computer to obtain or access child

     pornography, the individual’s computer will generally serve both as an instrumentality

     for committing the crime, and also as a storage medium for evidence of the crime. The

     computer is an instrumentality of the crime because it is used as a means of committing

     the criminal offense. The computer is also likely to be a storage medium for evidence of
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       crime. A computer used to commit a crime of this type may contain: data that is evidence

       of how the computer was used; data that was sent or received; notes as to how the

       criminal conduct was achieved; records of Internet discussions about the crime; and other

       records that indicate the nature of the offense.

       4. Based upon my training and experience and information relayed to me by agents

and others involved in the forensic examination of computers, I know that computer data can be

stored on a variety of systems and storage devices, including external and internal hard drives,

flash drives, thumb drives, micro SD cards, macro SD cards, DVDs, gaming systems, SIM cards,

cellular phones capable of storage, floppy disks, compact disks, magnetic tapes, memory cards,

memory chips, and online or offsite storage servers maintained by corporations, including but

not limited to “cloud” storage. During the search of the premises it is not always possible to

search computer equipment and storage devices for data for a number of reasons, including the

following:

               a. Searching computer systems is a highly technical process that requires

       specific expertise and specialized equipment. There are so many types of computer

       hardware and software in use today that it is impossible to bring to the search site all of

       the technical manuals and specialized equipment necessary to conduct a thorough search.

       In addition, it may also be necessary to consult with computer personnel who have

       specific expertise in the type of computer, software, or operating system that is being

       searched;

               b. Searching computer systems requires the use of precise, scientific

       procedures which are designed to maintain the integrity of the evidence and to recover

       “hidden,” erased, compressed, encrypted, or password-protected data. Computer

       hardware and storage devices may contain “booby traps” that destroy or alter data if
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       certain procedures are not scrupulously followed. Since computer data is particularly

       vulnerable to inadvertent or intentional modification or destruction, a controlled

       environment, such as a law enforcement laboratory, is essential to conducting a complete

       and accurate analysis of the equipment and storage devices from which the data will be

       extracted;

              c. The volume of data stored on many computer systems and storage devices

       will typically be so large that it will be highly impractical to search for data during the

       execution of the physical search of the premises; and

              d. Computer users can attempt to conceal data within computer equipment

       and storage devices through a number of methods, including the use of innocuous or

       misleading filenames and extensions. For example, files with the extension “.jpg” often

       are image files; however, a user can easily change the extension to “.txt” to conceal the

       image and make it appear that the file contains text. Computer users can also attempt to

       conceal data by using encryption, which means that a password or device, such as a

       “dongle” or “keycard,” is necessary to decrypt the data into readable form. In addition,

       computer users can conceal data within another seemingly unrelated and innocuous file in

       a process called “steganography.” For example, by using steganography a computer user

       can conceal text in an image file which cannot be viewed when the image file is opened.

       Therefore, a substantial amount of time is necessary to extract and sort through data that

       is concealed or encrypted to determine whether it is contraband, evidence, fruits, or

       instrumentalities of a crime.

       5. Additionally, based upon my training and experience and information relayed to

me by agents and others involved in the forensic examination of computers, routers, modems,
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and network equipment used to connect computers to the Internet often provide valuable

evidence of, and are instrumentalities of, a crime. This is equally true of wireless routers, which

create localized networks that allow individuals to connect to the Internet wirelessly. Though

wireless networks may be secured (in that they require an individual to enter an alphanumeric

key or password before gaining access to the network) or unsecured (in that an individual may

access the wireless network without a key or password), wireless routers for both secured and

unsecured wireless networks may yield significant evidence of, or serve as instrumentalities of, a

crime—including, for example, serving as the instrument through which the perpetrator of the

Internet-based crime connected to the Internet and, potentially, containing logging information

regarding the time and date of a perpetrator’s network activity as well as identifying information

for the specific device(s) the perpetrator used to access the network. Individuals who have set

up either a secured or unsecured wireless network in their residence are often among the primary

users of that wireless network.

       6. Based on the foregoing, and consistent with Rule 41(e)(2)(B), the warrant would

permit seizing, imaging, or otherwise copying storage media that reasonably appear to contain

some or all of the evidence described in the warrant, and would authorize a later review of the

media or information consistent with the warrant. The later review may require techniques,

including but not limited to computer-assisted scans of the entire medium, that might expose

many parts of a hard drive to human inspection in order to determine whether it is evidence

described by the warrant.
